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 5 Attorneys for
   JESUS VALENCIA ONTIVEROS
 6
 7                           IN THE UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA, )                  No. CR 07-0088-FCD
10                                 )
                       Plaintiff,  )
11                                 )
                                   )              REQUEST TO PHONE MEXICO
12         v.                      )              TO TALK TO PARENTS AND ORDER
                                   )
13   JESUS VALENCIA ONTIVEROS )
                                   )
14                                 )
                                   )
15                     Defendant.  )
     ______________________________)
16
17          The defendant, Jesus Valencia Ontiveros, by and through his attorney, Bruce Locke, hereby
18 requests that he be able to phone his family in Mexico from the Sacramento County Jail at his own
19 expense. Mr. Valencia Ontiveros is very close to his parents and he has not been able to talk with
20 them since he was arrested February 27, 2007. The jail will allow Mr. Valencia Ontiveros to phone
21 his home in Mexico with an international calling card, if the Court so orders.
22          Mr. Valencia Ontiveros, whose jail X-Ref number is X-4313231 hereby requests this Court
23 order the Sacramento County jail to grant him access to a telephone on which he can place a call to
24 the home of his mother and father in Mexico at 011-52-313-327-7137 and that he be allowed to
25 speak with his family members there for at least twenty minutes or for such longer time as the Sheriff
26 may allow. This request is contingent upon the defendant’s use of an international calling card so that
27 no costs are incurred by the Sacramento County Jail. The government is not opposed to this request
28 and Mr. Ferrari has authorized Bruce Locke to signify his signature on this motion.
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                                        Respectfully submitted,
 2
     DATED: July 23, 2008                     /S/
 3                                      BRUCE LOCKE
                                        Attorney for Jesus Valencia Ontiveros
 4
 5
     DATED: July 23, 2008                    /S/
 6                                      PHILIP FERRARI
                                        Attorney for the United States
 7
 8
     IT IS SO ORDERED:
 9
10 DATED: July 23, 2008
11                                   _______________________________________
                                     FRANK C. DAMRELL, JR.
12                                   UNITED STATES DISTRICT JUDGE
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